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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 23-60464-CIV-SINGHAL

  ANDREW GIANINO,
  SARA GIANINO,

         Plaintiffs,

  v.

  BROWARD AUTOMOTIVE, INC.
  f/d/b/a AUDI CORAL SPRINGS,

       Defendant.
  ______________________________________/
                                            ORDER

         THIS CAUSE is before the Court on Defendant’s Motion to Dismiss (DE [17]). This

  Court’s Notice of Court Practices states “[u]nless otherwise specified by the Court, every

  motion, legal memorandum, brief, and otherwise shall: be double-spaced, in justified

  alignment, in 12-point font, using either Times New Roman or Arial typeface. This Notice

  does not supplant the requirements and provisions of Local Rule 7.1(c).” (DE [6])

  (emphasis added).       Defendant’s motion, however, does not conform with the

  double-spacing requirement. Accordingly, it is hereby

         ORDERED AND ADJUDGED that Defendant’s Motion to Dismiss (DE [17]) is

  DENIED WITHOUT PREJUDICE. Defendant has twenty-one (21) days from the entry

  of this order to re-file its motion in compliance with the Court’s Court Practices.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 6th day of

  October 2023.




  Copies furnished counsel via CM/ECF
